Case 2:20-cv-12088-LVP-RSW ECF No. 12 filed 10/12/20                  PageID.66     Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Donald Rouse,

                                  Plaintiff(s),
v.                                                    Case No. 2:20−cv−12088−LVP−RSW
                                                      Hon. Linda V. Parker
Dana Nessel, et al.,

                                  Defendant(s),



          ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

    IT IS ORDERED that this matter is referred to U.S. Magistrate Judge R. Steven Whalen for
all pretrial proceedings, including a hearing and determination of all non−dispositive matters
pursuant to 28 U.S.C. § 636(b)(1)(A) and/or a report and recommendation on all dispositive
matters pursuant to 28 U.S.C. § 636(b)(1)(B).




                                                  s/Linda V. Parker
                                                  Linda V. Parker
                                                  United States District Judge



                                     Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record herein by electronic means or first class U.S. mail.



                                                  s/R Loury
                                                  Case Manager

Dated: October 12, 2020
